    Case 21-21068-CMB           Doc 27-2 Filed 07/27/21 Entered 07/27/21 08:54:10                      Desc Cert
                                      of Srvc with Plan Page 1 of 1
Form 150
                               IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

In re:                                                          Bankruptcy Case No.: 21−21068−CMB

                                                                Chapter: 13
                                                                Docket No.: 27 − 16
                                                                Conciliation Conference Date: 10/28/21 at 10:30 AM
Lee A. Mendlowitz
dba Lee Mendlowitz Trucking, dba Bell Bridge Auto Wreckers
  Debtor(s)

                                           CERTIFICATE OF SERVICE

I certify under penalty of perjury that I am, and at all times hereinafter mentioned was, more than 18 years of age and
that

on the __________ day of _________________________, _____, I served a copy of the within Order together with
the Amended Plan filed in this proceeding, by (describe the mode of service):




on the respondent(s) at (list names and addresses here):




Executed on _________________________                       _________________________
                      (Date)                                                   (Signature)

________________________________________________________________________________
(Type Name and Mailing Address of Person Who Made Service)
